Case 2:10-md-02179-CJB-DPC Document 12182-13

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Last/Name of Business Middle
Claimant Name THONN CASEY
Claimant ID 100051739 Claim ID 20741
Claim Type VoO Charter Payment
Law Firm Andry Law Group
Vessel Name Boss Hoss Hull ID
Registration State Registration LA 9346 FD
Number Number

This Notice is an official communication from the Claims Administrator for the Deepwater Horizon Economic and
Property Damages Settlement Program (“Settlement Program”) and relates to'the claim identified in Section I. We
have reviewed this claim and find that it qualifies for payment under the terms of the Economic and Property
Damages Settlement Agreement (“Settlement Agreement”). The following provides a breakdown of the factors
relevant to your payment. See Explanation of Claim Attachment for details on each item, unless another
Attachment is noted.

1. Compensation Amount: $49,400.00

2. Risk Transfer Premium Amount: $0.00

3. Less Prior Spill-Related Payments: $0.00

4, Total Compensation Amount: This is the sum of all Rows above. $49,400.00

5, 40% of Prior Transition Offer, if Applicable: $0.00

6. mg Com Pea ee oa Higher of 40% Amount or Total Compensation Amount, $49,400.00
PAY-1 v.1 WWW. DEEPWATERHORIZONECONOMICSETTLEMENT.COM ClaimantID: 100051739

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To accept this Final Compensation Award, you must complete the Final Compensation Award Acceptance
Form accompanying this Payment Notice or complete it online through the DWH Portal.

(1) If this is your first Payment Notice: After you have accepted your Final Compensation Award, you
will receive a Full and Final Release, Settlement, and Covenant Not to Sue (“Release”) that you must
complete, sign and return before you may be paid. An original of the Release bearing the claimant's
signature is required. We will not accept photocopies of the claimant's signature. If you use the
DWH Portal, you may print a copy of the Release from the portal, obtain the claimant's original signature, and
then return it. If you do not use the DWH Portal, we will send you the Release by mail or by email, as you

~ direct on the Final Compensation Award Acceptance Form.

After signing your Release and receiving a payment on your first claim, you will have 180 days from the date
we mail or wire your payment to file any additional claims you wish to pursue under the Settlement Program.
You will waive all rights to future claims if you do not submit additional claims within this 180-day window.
However, if you are filing a claim in the Seafood Compensation Program, you must file all Seafood-related
claims no later than 30 days after the Court issues a Final Order approving the Settlement Agreement.

(2) If you have already Received a Payment from the Settlement Program. If you already have
submitted a Release and received a payment from the Settlement Program, you do not need to submit
another Release to receive a payment on the claim that is the subject of this Payment Notice. However, you
must complete and submit another Final Compensation Award Acceptance Form to receive a payment on this
claim.

To obtain more detailed information regarding acceptance of your payment and additional terms and requirements
of the Release, go to www.deepwaterhorizoneconomicsettlement.com. If you have any questions about
your options or this Notice, you may call the Claimant Communication Center at 1-800-353-1262, send an email

to Questions@dhecc. com, or visit a Claimant Assistance Center.

Note: If the Compensation Amount listed on Row 1 in Section II of this Notice is greater than $25,000, BP has a
right to.appeal it, which could delay your payment. BP may appeal.a Compensation Amount within certain
timeframes following the claimant's acceptance of the award. These timeframes differ, depending on the amount
of the award, as follows: (a) for awards of $25,001 to $250,000, BP has ten days to appeal; (b) for awards of
$250,001 to $500,000, BP has 15 days to appeal; and (c) for awards’greater than $500,001, BP has 20 days to
appeal. If BP appeals your Compensation Amount, we will send you a separate notification explaining BP’s appeal
and the appeals process.

You may seek Reconsideration of this claim if you believe that v we > have made a calculation error or incorrectly
deducted prior Spill-related payments, if you believe that we failed to take into account relevant information or
data, or did not follow the Settlement Agreement’s standards governing this claim. To request Reconsideration,
you must do the following on or before the Deadline for Reconsideration Request date listed at the top of this
Payment Notice: (1) complete the Request for Reconsideration Form accompanying this Notice or complete
the online version available on the DWH Portal; and (2} submit all documentation you want us to consider at the
same time you submit your Request for Reconsideration Form. Because submission of a Request for
Reconsideration is the equivalent of asking for a new review of the claim, the Reconsideration outcome could
change the eligibility of the claim, or your Final Compensation Award may increase, decrease or stay the same.

If you are dissatisfied with the outcome of your Reconsideration review, you will have the right to file an appeal;
however, you must submit a timely Request for Reconsideration if you later wish to appeal. If you do not
submit a Request for Reconsideration or submit one after the deadline for doing so has passed, you
will not be able to file an appeal.

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We will deduct any outstanding liens we have received along with any other deductions required by state or
federal law or by any court order from Your Final Compensation Award identified in Section II of this Notice before
issuing payment. If we have received a lien against your claim(s), the Notice of Lien Withholding Attachment
included with this Notice provides details on that lien and how it affects your Final Compensation Award. If we
receive a valid lien or notice of another required deduction after you accept your Final Compensation Award but
before we issue the payment on your claim, we will deduct the lien amount from your payment.

If you have any questions about this Notice or the status of your claim(s), contact the Claimant Communications
Center at 1-800-353-1262 or send an email to Questions@dhecc.com. You also may visit a Claimant Assistance
Center for help. For a complete list of Claimant Assistance Centers, go to
www.deepwaterhorizoneconomicsettlement.com.

Submit your Final Compensation Award Acceptance Form or Request for Reconsideration Form online

with any accompanying documentation by uploading them to your DWH Portal. If you are unable to access the
DWH Portal, you may submit your request in any of the following ways:

By Mail Deepwater Horizon Economic Claims Center
(Postmarked no later than your Reconsideration PO Box 1439

deadline) Hammond, LA 70404-1439

By Overnight, Certified or Registered Deepwater Horizon Economic Claims Center
Mail | c/o Claims Administrator

(Postrnarked no later than your Reconsideration 42548 Happy Woods Road

deadline) Hammond, LA 70403. -

By Facsimile
(Sent no later than 12:00 midnight local time on your |(888) 524-1583
Reconsideration deadline)

By Email
(Sent no later than 12:00 midnight loca! time on your |ClaimForms@deepwaterhorizoneconomicsettlement.com
Reconsideration deadline)

Visit a Claimant Assistance Center
(Delivered no later than your Reconsideration
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You may take the required information or documents to a Claimant
Assistance Center.

_ |We received one or more additional Claim Forms from you that are not included or addressed in this Notice. This
chart summarizes the status of those claims as of the date of this Notice. You will receive or have already
received separate Notices for each additional claim. You may monitor the status of your other claims by using the
DWH Portal, If you do not use the DWH Portal, contact us by one of the methods listed in this Notice to find out
the current status of your other claims.

Claim Type Claim ID Claim Status
1. |Seafood Compensation Program 19690 Under Review
PAY-1 v.1 WWW,.DEEPWATERHORIZONECONOMICSETTLEMENT.COM ClaimantID: 100051739

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2. |Seafood Compensation Program 19691 Under Review

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VoO Participant Status

Working

‘/Vessel Length

30.0 ft.

from your Calculated Compensation Amount.

Explanation of Calculation: The Settlement Program pays all Vessels of Opportunity ('Vo0"} Charter Payment claims based upon the
confirmed length of the vessel and whether the claimant was dispatched or placed on hire in the VoO program. If you already have been
paid for an Economic Loss clairn based on earnings from this vessel, the Settlement Program will deduct a VoO Settlement Payment Offset

en \ essel Length
Less than 30 feet $41,600 Less than 30 feet $4,800
30 feet-45 feet $49,400 30 feet-45 feet $5,700
Greater than 45 feet-65 feet $62,400 Greater than 45 feet-65 feet $7,200
Greater than 65 feet $88,400 Greater than 65 feet $10,200

4, |Calculated Compensation Amount: This amount is based on your VoO Participant $49,400.00
Status and Vessel Length.
2. |VoO Settlement Payment Offset: 50% of Row 1, if applicable. $0.00
3. |Total Compensation Amount: Row i minus Row 2. $49,400.00
PAY-L v.17 WWW, DEEPWATERHORIZONECONOMICSETTLEMENT,.COM ClaimantID: 100051739

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ClaimID: 20741
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Last/i Name of Business First Middle Tntial
Claimant Name THONN CASEY
Claimant ID 400051739 Claim ID 20741
Final Compensation | $49,400.00
Street
Current 332 JACOB ST
Add ress City State Zip Code
SLIDELL LA 70458
Law Firm

Andry Law Group

Choose how you would like to receive the Release. Regardless of which method you choose, you must sign the
Release and send in the original copy. If you use the DWH Portal, you may go to
www.deepwaterhorizoneconomicsettlement.com and choose to accept payment and you may print the
Release. If you are unable to access the DWH Portal, you must select the method that you would like the Release
sent to you and return this form.

I accept and request to be paid the Final Compensation Award described in my Payment
Notice. I will not seek Reconsideration or an Appeal.

All claimants must sign a Full and Final Release, Settlement, and Covenant Not to Sue
(“Release”) before the Settlement Program can issue a payment. We will send you a
Release that you must sign and return to be paid: An original copy of the Release bearing
the claimant's signature is required. If you already have submitted a Release and received
a payment from the Settlement Program, you do not have to submit another Release.

I would like the Release mailed to my current address.

O

I would like the Release emailed to the email address that I provided below.

Email Address

Submit your Final Compensation Award Acceptance Form online using your DWH Portal. If you are unable
to access the DWH Portal, you may submit this form in any of the following ways:

Deepwater Horizon Economic Claims Center

By Mail PO Box 1439
Hammond, LA 70404-1439
PAY-1'v.1° WWW.DEEPWATERHORIZONECONOMICSETTLEMENT.COM _—ClaimantID: 100051739

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By Overnight, Certified or Registered
Mail

Deepwater Horizon Economic Claims Center
c/o Claims Administrator

42548 Happy Woods Road

Hammond, LA 70403

By Facsimile

(888) 524-1583

By Email

ClaimForms@deepwaterhorizoneconomicsettlement.com

Visit a Claimant Assistance Center

You may take the required information or documents to a Claimant
Assistance Center.

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Last/ Name of Business First riddle
Claimant Name
THONN CASEY
Claimant ID 100051739 Claim ID 20741
Claim Type VoO Charter Payment
Law Firm Andry Law Group
Vessel Name Boss Hoss Hull ID
Federal . .
Registration State Registration LA 9346 FD
Number
Number

By requesting Reconsideration, you are certifying that you understand that the Reconsideration outcome could
change the eligibility of your claim and that your Settlement Payment could increase, decrease or stay the same.
Include all additional documentation you want us to consider along with this Reconsideration Form. Select the
reason(s) you are requesting Reconsideration from the options below.

Oo Calculation Error
Oe Failure to take into account relevant information or data
E]« Failure to follow the standards in the Settlement Agreement

O Incorrect deductions from prior BP/GCCF payments

Explain (You may attach additional sheets if necessary):

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Submit your Request for Reconsideration Form online with any accompanying documentation by uploading
them to your DWH Portal. If you do not use the DWH Portal, you may submit your request in any of the following
ways on or before your Reconsideration deadline:

By Mail Deepwater Horizon Economic Claims Center
(Postmarked no later than your Reconsideration PO Box 1439

deadline) Hammond, LA 70404-1439

By Overnight, Certified or Deepwater Horizon Economic Claims Center
Registered Mail c/o Claims Administrator

(Postmarked no later than your 42548 Happy Woods Road

Reconsideration deadline} Hammond, LA 70403

By Facsimile
(Sent no later than 12:00 midnight local time on your | (888) 524-1583
Reconsideration deadline)

By Email
(Sent no later than 12:00 midnight local time on your | ClaimForms@deepwaterhorizoneconomicsettlement.com
Reconsideration deadline)

Visit a Claimant Assistance Center You may take the required information or documents to a Claimant
(Delivered no later than your Reconsideration Assist Cent

deadline) ssistance Center.

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